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 4   AYNUR BAGHIRZADE, IN PRO SE
 5
 6
 7                           UNITED STATES DISTRICT COURT
 8                          SOUTHERN DISTRICT OF CALIFORNIA

 9
                                               Case No.: 3:24-CV-01077-RSH-MMP
10   AYNUR BAGHIRZADE,
                                               PLAINTIFF’S EX PARTE
11                              Plaintiff,     APPLICATION TO CONTINUE
                                               NOTICED MOTION’ S HEARING
12           v.                                DATE OF DEFENDANT
                                               GREYSTAR CALIFORNIA INC.;
     ARMENIAN NATIONAL                         MEMORANDUM OF POINTS AND
13
     COMMITTEE OF AMERICA, et al.,             AUTHORITIES.
14
15                                             Presiding Judge: Hon. Robert Huie
16                                             Magistrate Judge : Hon. Michelle M.
                                               Petit
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 1
 2                                    I. INTRODUCTION
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 5          This EX PARTE APPLICATION is made pursuant to Local Rule 7.1. and
 6   Rule 47 of F.R.C.P. seeking continuance of the noticed motion date of Defendant
 7   Greystar California Inc. on the ground that good cause exists for continuance of
 8   Defendant’s noticed motion date and Defendant will not be prejudiced.
 9
10                 II. FACTUAL AND PROCEDURAL BACKGROUND

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            Plaintiff filed her First Amended Complaint (“FAC”) on August 15, 2024,
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     thereafter she filed her Second Amended Complaint (“SAC”) on November 16,
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     2024. Defendant was served with the SAC as one of the DOE defendants on
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     November 19, 2024. Thereafter, Defendant filed an ex parte application for
15
     extension of time on December 11, 2024, 1 day later of the deadline for its
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     response (21 days to respond to the complaint were over at that time) - Docket #
17
     110 . Defendant had no good cause to miss the deadline, all accusations in the
18
     address of Plaintiff were baseless. Plaintiff gave to most of the Defendants in this
19   action additional time to respond while she is now experiencing problems with
20   getting normal time to respond to multiple motions filed against her case.
21   Defendant’s motion for extension of time came before Plaintiff’s motion for entry
22   of default (Docket # 111 ) on December 11, 2024, because Plaintiff’s Pacer account
23   got restricted again at that time without any warnings and without any emails sent
24   to her by the Pacer system because allegedly she didn’t pay for the service while
25   she updated her credit card in the system long time before the next round of
26   automatic payments and the card had enough money (Docket # 115, Declaration of
27   Aynur Baghirzade). Afterwards, Judge granted Defendants’ motion and allowed

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 1   them 25-30 days extension to file their response. Defendant filed its response on
 2   January 6, 2025. After previous order of the Judge on continuance Plaintiff now
 3   has 3 motions to respond with the same deadline - January 27, 2025, which is
 4   impossible to do for the pro se litigant.
 5          Plaintiff also has another motion to respond with the deadline coming on
 6   January 22, 2025, and 5 days range between motions obviously are not enough to
 7   do the job without jeopardizing its quality. Plaintiff contacted Defendant to meet
 8   and confer on the matter on January 13, 2025. On January 14, 2025, Counsel for
 9   the Defendant responded that Plaintiff allegedly didn’t agree to give her an

10   extension during conversation with her over the phone on January 3, 2025, which

11   is not true. At that time there was only 3 days left till deadline for the Defendant to
     respond and the proposal for extension of their time actually came from the
12
     Plaintiff, on which Defendant responded that they are going to file their answer on
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     January 6, 2025, even if Plaintiff does not send them her settlement proposal by
14
     that time.
15
            Since the Court allowed 25-30 days to Defendant to file their response while
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     Defendant missed its deadline Plaintiff now asks for the same privilege.
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     Defendant’s current hearing date is February 10, 2025, and Plaintiff requests to
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     continue it till March 12, 2025, so that she can answer to their motion by or before
19   February 26, 2025. Plaintiff before filed a motion to reconsider the judge’s order
20   on her motion to continue Defendants Orange County Bar Association, Trudy
21   Levindofske, Teresa Vuki and Los Angeles County Bar Association, Seth Chavez
22   and Coco Su’s motions hearing dates the deadline to answer for which was set by
23   the Court on the same date with Defendant’s - January 27, 2025. If Plaintiff’s
24   motion is granted the deadline for her to respond will be moved to February 20,
25   2025, for two motions, before Plaintiff has to respond to another Defendant’s
26   motion on February 6, 2025. Plaintiff ask to allow her to have at least 7-8 days
27   between motions to respond, otherwise this could significantly affect the quality of

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 1   her job or even leave her with no enough time to do it, which in turn will
 2   significantly jeopardize her and her case.
 3           Plaintiff is a pro-se litigant suing multiple Defendants in a complex RICO
 4   case involving a lot of questions of Law and requiring many hours of research.
 5   Currently Plaintiff has 5 (five) motions to respond in January which is practically
 6   and physically not possible for the pro-se litigant considering difficulty and variety
 7   of the issues involved. Also, Plaintiff didn’t have two new Defendants when she
 8   scheduled her motions with Defendants for January, additional two Defendants in
 9   January makes her schedule really complicated. Defendant’ refusal to continue

10   further hearing dates for their motions has the only purpose to jeopardize Plaintiff’s

11   work.

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                                      III. ARGUMENTS
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             1. THERE IS A GOOD CAUSE FOR CONTINUANCE OF
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     DEFENDANT’S HEARING DATE AND NO PREVIOUS CONTINUANCE
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     WAS REQUESTED BY THE PLAINTIFF:
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18           Rule 6 (b) of F.R.C.P. states that “When an act may or must be done within a
19   specified time, the court may, for good cause, extend the time: (A) with or without
20   motion or notice if the court acts, or if a request is made, before the original time or
21   its extension expires…” Fed. R. Civ. P. 6. “Rule 6(b), governing extensions of
22   time, must be “liberally construed to effectuate the general purpose of seeing that
23   cases are tried on the merits.” Adams v. Dahl, No. 120CV00852JLTPC, 2021 WL
24   5112668, at *1 (E.D. Cal. Nov. 3, 2021) citing case Ahanchian v. Xenon Pictures,
25   Inc., 624 F.3d 1253, 1255 (9th Cir. 2010).        Here, Defendant filed its motion first
26   time in January 6, 2025, and no previous continuance was requested by the
27   Plaintiff. Plaintiff has a good cause for further continuance of the motion’s hearing
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 1   date as she can’t as a pro-se litigant to respond to three motions scheduled for the
 2   same date.
 3
 4                                    IV. CONCLUSION
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 6           Considering of all foregoing, Plaintiff respectfully ask this Court to
 7   continue Defendant’s motion hearing date from February 10, 2025 to March 12,
 8   2025 with the deadline for her to file her opposition on or before February 26,
 9   2025.
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12                                                   Respectfully submitted,
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     Dated: January 15, 2025                         Plaintiff, Aynur Baghirzade
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15                                                   By: /s/ Aynur Baghirzade
                                                     Aynur Baghirzade
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                                                     Email: contact@aynurlawyers.com
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     Ex Parte Application                                 Case No.: 3:24-CV-01077-RSH-MMP
